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              EXHIBIT Q
2021.07.29 New York Times Article
Mitchell Button Accused of Sexual Assault in Lawsuit - The New York Times
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                   Former Dance Instructor Accused of
                   Sexual Assault in Lawsuit
                   Mitchell Taylor Button was accused of abuse, and his wife, Dusty
                   Button, a dancer with a large Instagram following, was accused of
                   participating in some of it but not named as a defendant.


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                                     Mitchell Taylor Button, right, was accused in a lawsuit of
                                     sexually assaulting two dancers. The suit said that his wife,
                                     Dusty Button, left, participated in some of the abuse. Kelly
                                     Sullivan/Getty Images for the WeWork Creator Awards



                   By Julia Jacobs
                   July 29, 2021


                   A pair of professional dancers filed a lawsuit on Wednesday accusing a
                   former dance teacher of sexually assaulting and abusing them, and
                   accusing his wife — an internet-famous ballerina who has danced with the
                   Boston Ballet — of participating in some of that abuse.



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                   The former teacher — who has been known by several names, but is called
                   Mitchell Taylor Button in the suit — is married to Dusty Button, who was a
                   principal dancer with the Boston Ballet and who has amassed more than
                   300,000 Instagram followers and several corporate sponsorships with viral
                   photos and videos of her dancing.

                   The suit, filed in United States District Court in Nevada, claims that “the
                   Buttons abuse their positions of power and prestige in the dance
                   community to garner the loyalty and trust of young dancers” and said that
                   the couple would “exploit those relationships to coerce sexual acts by
                   means of force and fraud.” Mr. Button is a defendant in the lawsuit; Ms.
                   Button is not, but is described as a “non-party co-conspirator.” A lawyer for
                   the couple said that they denied the charges.
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                   The suit asserts that one of the plaintiffs, Sage Humphries, now a dancer
                   with the Boston Ballet, met the Buttons in 2016 when she was in the
                   company’s apprenticeship program and that the couple sexually and
                   verbally abused her, forced her to live with them and isolated her from her
                   family.




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                   Sage Humphries, a dancer with the Boston Ballet, said that the Buttons sexually and verbally
                   abused her and isolated her from family when she was in an apprenticeship program. Kristine
                   Potter for The New York Times



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                   “They had control over my phone and passwords to my Instagram, my
                   email,” Ms. Humphries, now 23, said in an interview. “They had complete
                   control over me. If I wanted to do anything, I had to ask them first.”

                   A second plaintiff in the lawsuit, Gina Menichino, alleges that several years
                   earlier, Mr. Button sexually assaulted her when she was 13 years old and he
                   was her 25-year-old dance instructor in Florida.

                   The lawsuit says that Mr. Button used several names, including Mitchell
                   Moore, Taylor Moore and Mitchell Button.

                   A statement sent through a lawyer who is speaking for the couple, Ken
                   Swartz, said, “Taylor and Dusty Button categorically deny these baseless
                   claims and they look forward to the opportunity through court proceedings
                   to disprove all of the plaintiffs’ false and fraudulent allegations.”
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                   According to the lawsuit, Ms. Menichino, now 25, said that she met Mr.
                   Button when she was a student at a Centerstage Dance Academy in Tampa,
                   Fla., where she knew him as Taylor Moore. On two occasions in 2010, the
                   suit says, she and Mr. Button were sharing a blanket while watching a
                   movie with other dancers from the studio when Mr. Button sexually
                   assaulted her.

                   Mr. Button regularly sent sexually explicit text messages, photos and videos



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                   to Ms. Menichino, the lawsuit said, and solicited the same from her. Ms.
                   Menichino had aspirations of becoming a professional dancer, it said, and
                   Mr. Button would reward her “compliance” with special dance
                   opportunities, such as assistant teaching at a dance convention.

                   “The whole game was to keep him happy,” she said in an interview. “Don’t
                   get him angry, or I was unworthy and I would lose my dance career.”




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                   Gina Menichino charges in the suit that Mr. Button sexually assaulted her when she was 13
                   years old and he was her 25-year-old dance instructor in Florida. Eve Edelheit for The New York
                   Times



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                   Ms. Menichino, now a dancer, teacher and choreographer, said in an
                   interview that she had reported her experiences to the police in 2018 but
                   that they told her they had found insufficient evidence to pursue a criminal
                   case. According to police records provided by the plaintiffs’ lawyer, another
                   dancer from the same Tampa studio reported to police in 2012 that Mr.
                   Button had sexually assaulted her numerous times, some of them at her
                   home; that case did not result in criminal charges, either, in part because of
                   a lack of supporting physical evidence, the records said.

                   Ms. Menichino’s mother said in an interview that her daughter told her
                   there had been “inappropriate interactions” involving her and Mr. Button
                   after he had left the studio job.
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                   In Ms. Humphries’s case, her mother and father said in an interview that
                   they had sensed something was wrong with their daughter’s living situation
                   and had flown to Boston to “rescue” her.

                   Ms. Humphries said in an interview that she had been in awe of Ms.
                   Button, who was a principal dancer with Boston Ballet, and started
                   spending concentrated amounts of time with her and her husband in 2017.
                   But their behavior toward her became increasingly controlling, the lawsuit
                   said.

                   According to the court filing, the couple insisted that Ms. Humphries sleep


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                   at their apartment regularly and eventually forced her to live there full-time
                   and paid for her meals and personal expenses; Mr. Button told her that if
                   he had access to her social media account, he could “make her famous like
                   Dusty.”

                   “If Sage ever attempted to distance herself or disobey the Buttons,” the
                   lawsuit said, “they would threaten to revoke their financial support and
                   sabotage her career.”

                   One evening, Mr. Button sexually assaulted Ms. Humphries in his
                   apartment, the lawsuit said, starting a pattern of sexual abuse that
                   sometimes included violent sex acts that she did not consent to. The filing
                   said that on several occasions Ms. Button held her down to immobilize her
                   while Mr. Button had sex with her. And at one point, the suit says, the
                   husband and wife got into a physical altercation that ended with him
                   “striking Dusty across the face” because he was angry that she had had sex
                   with Ms. Humphries.

                   In August 2017, Ms. Humphries, then 19, received abuse protection orders
                   against both Ms. Button and Mr. Button, the lawsuit said.
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                   The Boston Ballet said in a statement on Thursday that Ms. Button’s
                   employment had been terminated in May of 2017 but declined to say why.

                   “Boston Ballet supports Sage Humphries who is bravely coming forward,
                   sharing her experience to protect others, and seeking accountability and

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                   justice,” the company said in a statement.

                   Sigrid McCawley, a lawyer representing the two plaintiffs, said that there is
                   a trend of predation in the dance world because of ingrained power
                   dynamics and the desire on the part of dancers to gain approval from
                   authority figures.

                   “Grooming in that environment is particularly easy for a perpetrator,” she
                   said, “because he has full access to very young victims for long periods of
                   time.”

                   Kitty Bennett contributed reporting.


                   A version of this article appears in print on July 31, 2021, Section C, Page 3 of the New York edition with
                   the headline: Dancers Accuse Former Instructor of Sexual Assault. Order Reprints | Today’s Paper |
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